Case 1:01-cv-12257-PBS Document 7038-1 Filed 04/07/10 Page 1 of 3




                       EXHIBIT A
      Case 1:01-cv-12257-PBS Document 7038-1 Filed 04/07/10 Page 2 of 3




                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

                                  }
In re: PHARMACEUTICAL INDUSTRY    }                           MDL No. 1456
AVERAGE WHOLESALE PRICE LITIGATION)                           Civil Action No. 01 -CV-12257-PBS
                                                              Subcategory Case. No. 03-10643-PBS



THIS DOCUMENT RELATES TO:                                )    Hon. Patti B. Saris

The City of New York, et al.,                            )

               Plaintiffs,                               }

          v.                                             }
                                                         }
Abbott Laboratories, Inc., et al.,                       )

               Defendants.                               )
                                                         )



                 [PROPOSED] ORDER AMENDING THE FEBRUARY 9, 2010
                       AMENDED MEMORANDUM AND ORDER

                 Prior to the issuance of this Court's January 27, 2010 memorandum and order in

the above-captioned action on the parties' cross-motions for summaryjudgment relating to FUL

allegations, Defendants Dey, Inc. and Dey Pharrna, L.P. (formerly known as Dey, L.P.)

(collectively, "Dey'") reached a settlement agreement in principle resolving all of the plaintiffs'

claims against Dey. The settlement agreement has now been fully executed and Dey has paid the

settlement amount. Accordingly, this Court's January 27, 2010 memorandum and order (Docket

No. 6863), as amended on February 9, 2010, (Docket No. 6905), is further amended as follows to

delete all references to Dey:

          Pale Location----                            Amendment
                                The last sentence is revised to read "Ethex, Boehringer
      Page 2, footnote 2
      ---- ----_-_-^            1n elheini Roxane, De .Inc., and Dey, L.P. have
      Case 1:01-cv-12257-PBS Document 7038-1 Filed 04/07/10 Page 3 of 3




                                 subsequently settled."
       Page 2                    Delete "3998% for Dey"
       Page 14 , footnote 10     Delete "De    56.1 at 3"
       Page 14, footnote I I     Delete "De    56 . 1 at  13-14"
       Pa e 15, footnote 12      Delete "De    56 .1 at 1 17-23"
       Page 15 , footnote 13     Delete "De    56 .1 at   17-23"
       Page 15 , footnote 14     Delete "De    56 .1 at   17-23"
       Pa e 16 , footnote 15     Delete "De    56.1 at 16"
       Pa ge 16, footnote 16     Delete " De   56 . 1 at  4-5, 11

                This order does not affect the effective date of the this Court's original January

27, 2010 order, or reset any tiling deadlines associated with that order or otherwise affect any

party's right to appeal or otherwise seek relief from it.


Entered this        day of               , 2010.




                                                       Patti B. Saris, J.
                                                       United States District Court
